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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Western Division

UNITED STATES OF AMERICA

 

-vs- Case No. 2:05cr20167-Ma

ROBER'I` LESTER

 

ORDER
Upon motion of the Defendant, it is ORDERED that a bond hearing is reset for MONDAY,
JULY 18, 2005 at 2:30 P.M. before United States Magistrate Judge Diane K. Vescovo in
Courtroom No. 5, Third Floor, United States Courthouse and Federal Building, 167 North Main,
Memphis, TN TN. Pending this hearing, the defendant shall be held in custody by the United States
Marshal and produced for the hearing.

Date: Ju1y11,2005 /@vé » ZL£W
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DlANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

AO 470 (B.'B§) Order of Ten'porary Deteniion
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This notice confirms a copy of the document docketed as number 41 in
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Honorable Samuel Mays
US DISTRICT COURT

